UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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WALTER J. WENTLAND and NICHOLAS                                      :
WENTLAND,                                                            :
                                                                     :         NOTICE OF MOTION
                                    Plaintiffs,                      :         IN LIMINE
                                                                     :
                      - against -                                    :
                                                                     :         21-CV-6195 (PMH)
NEW YORK STATE TROOPERS CONNOR                                       :
CORNINE, DANIEL RAMIREZ, MATTHEW                                     :
McKINNEY and DEPUTIES ELLIOT BROOKS,                                 :
and RICHARD WIEBOLDT of the ORANGE                                   :
COUNTY SHERIFF’S OFFICE,                                             :
                                                                     :
                                      Defendants.                    :
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                   PLEASE TAKE NOTICE that, for the reasons set forth in the

accompanying memorandum of law and Declaration of Ian Ramage, with appended

exhibits, the State Defendants shall move the Court, before the Honorable Philip M.

Halpern, in limine for an order: (i) permitting Defendants to cross-examine Plaintiff Walter

Wentland on a prior judicial credibility finding; (ii) permitting Defendants to cross-

examine Plaintiff Walter Wentland on his criminal conviction and allocution arising from

the July 22, 2018 incident; (iii) permitting Defendants to cross-examine Plaintiff Nicholas

Wentland on his criminal conviction arising from the July 22, 2018 incident; and (iv)

precluding Plaintiffs from inquiring into State Defendant Cornine’s singular disciplinary

incident.

                   PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s Order

dated January 31, 2023 (ECF No. 41), any response to this Motion is due on March 7, 2023.
Dated: New York, New York
       February 21, 2023

                                          LETITIA JAMES
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                                          State of New York
                                          Attorneys for State Defendants
                                   By:
                                          /s/
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